Case 5:16-cr-04047-LTS-KEM   Document 74   Filed 11/18/16   Page 1 of 6
Case 5:16-cr-04047-LTS-KEM   Document 74   Filed 11/18/16   Page 2 of 6
Case 5:16-cr-04047-LTS-KEM   Document 74   Filed 11/18/16   Page 3 of 6
Case 5:16-cr-04047-LTS-KEM   Document 74   Filed 11/18/16   Page 4 of 6
Case 5:16-cr-04047-LTS-KEM   Document 74   Filed 11/18/16   Page 5 of 6
Case 5:16-cr-04047-LTS-KEM   Document 74   Filed 11/18/16   Page 6 of 6
